Case 1:14-cv-01142-GMS Document 77-1 Filed 09/28/16 Page 1 of 4 PageID #: 1332




                               EXHIBIT A
Case 1:14-cv-01142-GMS Document 77-1 Filed 09/28/16 Page 2 of 4 PageID #: 1333



James:

An issue has arisen that requires Mr. Rothschild to decline to meet with Mitek. We are investigating a
potential conflict of interests issue between WSGR and Mr. Rothschild. We expect to have the
investigation completed by Thursday, August 28, so please provide a date and time thereafter to discuss
our findings and the steps, if any, required. In the meantime, please place your client on notice of this
potential conflict and the fact that all WSGR work product for Mitek and the JP Morgan defendants may
be subject to disgorgement to Mr. Rothschild.

Respectfully,
Alfonso

-----Original Message-----
From: Yoon, James [mailto:JYoon@wsgr.com]
Sent: Friday, August 22, 2014 9:32 AM
To: Alfonso G Chan
Subject: Re: Mitek

Alfonso,

I have checked with Mitek. Mitek would not be comfortable with a clients-only meeting.

Additionally, we are not available September 3-5. Mitek has a trial the first part of September.

Are there alternative dates in late September?

Jim

James Yoon
Wilson Sonsini Goodrich & Rosati
650 Page Mill Road
Palo Alto, CA 94304
Direct: (650) 320-4726
Cell: (650) 714-8493
Email: jyoon@wsgr.com

> On Aug 21, 2014, at 3:47 PM, "Alfonso G Chan" <achan@ShoreChan.com> wrote:
>
> Additionally, please advise whether Mitek would be agreeable to a clients-only meeting, without
lawyers.
>
> -----Original Message-----
> From: Alfonso G Chan
> Sent: Wednesday, August 20, 2014 4:13 PM
> To: 'Yoon, James'
> Cc: Caroline Johnson; Michael Shore; Mays, Christopher
> Subject: RE: Mitek
>
Case 1:14-cv-01142-GMS Document 77-1 Filed 09/28/16 Page 3 of 4 PageID #: 1334



> I will communicate your message to my client. In the meantime, are the dates I originally proposed
(September 3, 4, or 5) not workable for you?
>
> -----Original Message-----
> From: Yoon, James [mailto:JYoon@wsgr.com]
> Sent: Tuesday, August 19, 2014 11:49 PM
> To: Alfonso G Chan
> Cc: Caroline Johnson; Michael Shore; Mays, Christopher
> Subject: Re: Mitek
>
> Alfonso,
>
> Mitek is open to doing a webcast. The representatives on the Mitek side would be Russ Clark, Chief
Financial Officer, and me.
>
> Let's talk later this week or early next week to set a time for the webcast.
>
> Jim
>
>
>
> James Yoon
> Wilson Sonsini Goodrich & Rosati
> 650 Page Mill Road
> Palo Alto, CA 94304
> Direct: (650) 320-4726
> Cell: (650) 714-8493
> Email: jyoon@wsgr.com
>
>> On Aug 18, 2014, at 8:57 AM, "Alfonso G Chan" <achan@ShoreChan.com> wrote:
>>
>> James:
>>
>> It was my understanding that Mitek wanted to explore the possibility of a business solution before
litigation got underway. But based on your email and recent filing, Mitek appears to have taken a
different direction. What "next steps" do you have in mind?
>>
>> Sincerely,
>> Alfonso
>>
>>
>> -----Original Message-----
>> From: Yoon, James [mailto:JYoon@wsgr.com]
>> Sent: Sunday, August 17, 2014 10:49 PM
>> To: Alfonso G Chan
>> Cc: Caroline Johnson; Michael Shore
>> Subject: RE: Mitek
>>
Case 1:14-cv-01142-GMS Document 77-1 Filed 09/28/16 Page 4 of 4 PageID #: 1335



>> Alfonso,
>>
>> I apologize for the delay in responding.
>>
>> Do you have time to talk on Monday or Tuesday?
>>
>> At this time, it appears to Mitek that it would be premature to have a face-to-face meeting.
>>
>> It would be great if we could discuss next steps.
>>
>> Jim
>>
>> -----Original Message-----
>> From: Alfonso G Chan [mailto:achan@ShoreChan.com]
>> Sent: Thursday, August 07, 2014 2:23 PM
>> To: Yoon, James
>> Cc: Caroline Johnson; Michael Shore
>> Subject: RE: Mitek
>>
>> Would Mitek be available to meet with RMII and Leigh Rothschild on September 3, 4, or 5? We could
meet halfway in Dallas.
>>
>> -----Original Message-----
>> From: Yoon, James [mailto:JYoon@wsgr.com]
>> Sent: Tuesday, August 05, 2014 12:31 PM
>> To: Alfonso G Chan
>> Subject: Mitek
>>
>> Alfonso,
>>
>> Just following up on our conversation, is there a good time for us to talk about Mitek?
>>
>> Jim
>>
>> James Yoon
>> Wilson Sonsini Goodrich & Rosati
>> 650 Page Mill Road
>> Palo Alto, CA 94304
>> Direct: (650) 320-4726
>> Cell: (650) 714-8493
>> Email: jyoon@wsgr.com
>> This email and any attachments thereto may contain private, confidential, and privileged material for
the sole use of the intended recipient. Any review, copying, or distribution of this email (or any
attachments thereto) by others is strictly prohibited. If you are not the intended recipient, please
contact the sender immediately and permanently delete the original and any copies of this email and
any attachments thereto.
>>
